                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA
                                   1:20-CV-442


 FOOD LION, LLC, and MARYLAND
 AND VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.,
                                                DEFENDANT DAIRY FARMERS OF
        Plaintiffs,                              AMERICA, INC.’S RESPONSE IN
                                                  OPPOSITION TO PLAINTIFF’S
 v.                                                MOTION FOR EXPEDITED
                                                 DISCOVERY AND MANDATORY
 DAIRY FARMERS OF AMERICA, INC.,                     MEET AND CONFER

        Defendants.




       On May 20, 2020 Food Lion, LLC and Maryland and Virginia Milk Producers

Cooperative Association, Inc. (“MDVA,” together with Food Lion, the “Plaintiffs”) filed

a Complaint alleging antitrust violations arising from Dairy Farmers of America, Inc.’s

(“DFA’s”) acquisition of certain assets from bankrupt milk producer Dean Foods Company

(“Dean”). In addition to alleging antitrust violations arising out of that transaction, the

Complaint accuses DFA of obstruction of justice and fraud. Three days after filing the

Complaint—and before DFA had any opportunity to respond to this invective—Plaintiffs

filed a Motion for a Preliminary Injunction, seeking the extraordinary remedy of an asset

preservation order, and they now seek expedited voluminous discovery in support of that

Motion.

       The pending Motion for Expedited Discovery—filed to bolster the pending Motion




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for Preliminary Injunction—both arise from a flawed Complaint that on its face is

insufficient as a matter of law and fact. Additionally, the Complaint is barred by the

“Failing Firm Doctrine.” See United States v. Gen. Dynamics Corp., 415 U.S. 486, 507

(1974) (holding failing firm doctrine applied where company acquired faced the grave

possibility of failure and there was no viable alternative purchaser for the company that

would be less anticompetitive). Moreover, Plaintiffs’ request for extraordinary relief is not

justified by any showing of imminent harm; in fact, DFA has no plans to close any of the

former Dean plants in North Carolina and South Carolina or significantly change their

operations. See Declaration of John J. Wilson (“Wilson Dec.”), filed herewith, as Ex. A,

at ¶ 20.

       DFA respectfully submits that before the parties spend hundreds of hours and tens

(or hundreds) of thousands of dollars on overbroad and potentially unnecessary discovery,

the Court should have an opportunity to consider, in an expeditious manner, the underlying

legal flaws in the Complaint. Accordingly, DFA proposes to file a Motion to Dismiss and

supporting materials when due, on June 16, 2020, with briefing to be completed by July

14, 2020. That would allow the Court the benefit of briefing on threshold legal issues in

this matter before deciding whether the extraordinary step of expedited discovery is

warranted.

                                   Factual Background

       The Defendant, DFA, is a milk marketing cooperative made up of nearly 7,500

family-owned dairy farm member-owners who produce milk throughout the country.



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Wilson Dec. at ¶ 5. The majority of these farmers—roughly 6,600 (or almost 90% of

DFA’s total member farms)—operate small family farms with an average herd size of 87

cows. Id. at ¶ 6. Roughly 45% of DFA’s member farms milk less than 50 cows. Id. In

the Carolinas, DFA has 53 members and over 80% are small farms. Id. at 7. The product

from these cows, raw milk, is a highly perishable crude commodity which, unlike other

commodities, is the product of 2-3 milkings per day. Id. at ¶ 9. The milk must be received,

processed, and made into products within 48 to 72 hours, or it becomes worthless. Id. This

central fact drives the economics of the dairy industry, and requires that processing and

distribution networks exist and are capable of consistent and reliable processing of milk,

for subsequent sale to customers, which provides the cash flow necessary for farms to

remain viable. DFA purchases and markets the milk produced by its member farmers. Id.

at ¶ 8. Because time is limited for this product, DFA also owns milk processing and

manufacturing plants, including fluid milk plants in certain parts of the United States. Id.

at ¶ 12. For more than a decade, however, DFA has not owned—in whole or part—any

fluid milk or other processing plants in the Carolinas until its recently completed

acquisition of certain assets from Dean in connection with its Chapter 11 Bankruptcy filing.

Id. at ¶ 13.

       In the Carolinas, DFA has for several years, and currently supplies the majority of

the raw milk processed by the Dean plants in High Point (North Carolina), Winston-Salem

(North Carolina), and Spartanburg (South Carolina). Id. at ¶ 19. This enabled DFA




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members’ milk to be processed into fluid milk and then sold by Dean to stores, schools,

and various other outlets.

       On November 12, 2019, Dean and a number of its affiliates filed bankruptcy in the

Southern District of Texas (Case No. 19-36313) (“Bankruptcy Court”). Dean was the

largest fluid milk processor in the country at that time, with 57 plants in 29 states. Wilson

Dec. at ¶ 14. DFA was thus faced with the potential collapse of its largest customer, and a

critical outlet for its members’ and other dairy famers’ milk. Id. at ¶ 15. This case arises

out of the events that happened in the next six months. After a fair, open, and transparent

sale process, on March 31, 2020, Dean announced that DFA was the successful bidder for

the vast majority of Dean’s plants (44 plants, in 23 states), including the three plants in the

Carolinas (“Carolina Plants”), which are at issue in this matter. In re: Southern Foods

Group, LLC et al., 19-36313 (S.D. Tx. Bankr.) at ECF 1270 (Mar. 31, 2020). Plaintiff

MDVA was announced as the Alternate Bidder for the High Point, North Carolina facility.

Id. Plaintiff Food Lion made no attempt to bid on any of the plants. Indeed, there were no

other bidders for the Carolina Plants, other than the High Point, North Carolina facility.

       The Bankruptcy Court approved DFA’s winning bid, and thus its acquisition of 44

plants, at a sale hearing on April 3, 2020. In re: Southern Foods Group, LLC et al., 19-

36313 (S.D. Tx. Bankr.) at ECF 1572 (Apr. 5, 2020). On April 20, 2020, MDVA and Food

Lion filed a motion in the Bankruptcy Court to permit it to file an antitrust case immediately

in federal district court to enjoin DFA’s acquisition. Id. at ECF 1693 (Apr. 20, 2020). That

motion was denied. Id. at ECF 1872 (Apr. 30, 2020). Plaintiffs were not the only parties



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examining the acquisition. The United States Department of Justice and many states

attorneys’ general also conducted merger inquiries and investigations.

       On May 1, 2020, the United States Department of Justice and the States of

Wisconsin and Massachusetts jointly filed a complaint and a proposed final judgment

resolving that complaint in the Northern District of Illinois. United States et al v. Dairy

Farmers of America, Inc. et al, 1:20-cv-02658 (N.D. Ill.). The consent decree required

DFA to divest certain plants that it had acquired from Dean in Illinois, Wisconsin, and

Massachusetts. Upon the execution of the stipulation in that case, the transaction closed

later that day without objection by either the Department of Justice or the attorney general

of any other state.

       Nineteen days later, Plaintiffs filed their complaint in this matter. See Compl. [ECF

1], filed May 19, 2020, served May 26, 2020. Plaintiff Food Lion is a subsidiary of

Koninklijke Ahold Delhaize N.V. (“Ahold”), one of the world’s largest companies and

grocery retailers, and headquartered in the Netherlands. In the United States, Ahold

companies collectively own and operate over 1,400 supermarkets in New England, the

Mid-Atlantic, and the Southeastern United States. In re: Southern Foods Group, LLC et

al., 19-36313 (S.D. Tx. Bankr.) at ECF 1065 (Mar. 9, 2020). MDVA is a dairy cooperative

competitor of DFA, headquartered in Reston, Virginia, that also has interests in fluid milk

processing plants. It currently has a plant in, among other places, Newport News, Virginia,

less than 40 miles from the North Carolina border. Compl. ¶ 80 [ECF 1]. It also had a

plant in New Bern, North Carolina, that it acquired in 2003 and closed in 2014. Wilson



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Dec. at ¶ 21.

       Two days after service, Plaintiffs filed their Motion for a Preliminary Injunction and

now seek expedited discovery. In their Motion, Plaintiffs seek to have DFA provide tens

of thousands of documents and gigabytes of structured data in less time than the Plaintiffs

took to file their Complaint.

                                 Summary of Argument

       The Supreme Court has cautioned against permitting discovery to proceed in

antitrust cases before examining the merits of the complaint because of the tremendous

burden and expense of such discovery. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007) (noting that the courts should be mindful “that proceeding to antitrust discovery can

be expensive.”).    This case is no different.      Plaintiffs propose broad-ranging and

burdensome discovery on an expedited basis. Plaintiffs’ rush warrants close scrutiny by

this Court.

       Plaintiffs’ Complaint is legally flawed. Its theories on vertical merger violation or

market foreclosure will not stand and its claims are barred by the Failing Firm Doctrine.

Moreover, the Plaintiffs’ stated reason for the rush to discovery—that changes will be made

that cannot be undone—is not correct for two reasons. First, that is not the standard for

expedited discovery. Second, no significant operational changes are contemplated by

DFA, leaving more than enough time for the Court to consider the threshold legal issues in

the Complaint. In addition, the request for expedited discovery imposes time limits that

are unreasonably short and demands the production of data and documents that go well



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beyond the three plants and market claimed to be at issue.

       DFA submits that, in light of the absence of any real emergency, it will be more

efficient for the Court to first receive briefing on DFA’s Motion to Dismiss. That way, the

Court can consider the critical threshold issues in this matter and whether the extraordinary

step of expedited discovery is warranted, with the benefit of full briefing on the threshold

legal issues.

                                        Argument

       While “Federal Rule of Civil Procedure 26 gives a trial court wide discretion to

manage the discovery process[,]….expedited discovery is not the norm.” Merrill Lynch,

Pierce, Fenner & Smith v. O’Connor, 194 F.R.D. 618, 623 (N.D. Ill. 2000). Rather, courts

“grant[] expedited discovery [only] when unusual circumstances exist.” ForceX, Inc. v.

Tech. Fusion, LLC, No. 4:11-cv-88, 2011 WL 2560110, at *4, 2011 U.S. Dist. LEXIS

69454, at *10 (E.D. Va. June 27, 2011) (internal quotations omitted). The burden is on the

movant to “make some prima facie showing of the need for…expedited discovery.”

Merrill Lynch, 194 F.R.D. at 623.

       “‘[W]here [a litigant] requests expedited discovery in preparation for a preliminary

injunction determination…., a standard based upon reasonableness or good cause, taking

into account the totality of the circumstances, is…in keeping with discretion bestowed

upon the [C]ourt in the Federal Rules of Civil Procedure.’” Teamworks Innovations, Inc.

v. Starbucks Corp., No. 1:19-CV-1240, 2020 WL 406360, at *3, 2020 U.S. Dist. LEXIS

11892, at *7-8 (M.D.N.C. Jan. 24, 2020) (alterations in original) (quoting Dimension Data



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N. Am., Inc. v. Netstar-1, Inc., 226 F.R.D. 528, 531 (E.D.N.C. 2005)). When determining

“the foregoing good cause/reasonableness standard,” courts may consider:

               (1) the timing of the [instant M]otion…;

               (2) whether [Plaintiff] has narrowly tailored its [discovery] requests
                   to gather information relevant to a preliminary injunction
                   determination…; and

               (3) whether [Plaintiff] has shown a likelihood of irreparable harm
                   without access to expedited discovery….

Teamworks Innovations, 2020 WL 406360, at *3, 2020 U.S. Dist. LEXIS 11892, at *8

(internal quotations omitted). Although Plaintiffs’ Motion arguably meets the timing

requirement, it fails to show a likelihood of irreparable harm without access to the

expedited discovery, and Plaintiffs have not narrowly tailored their requests. As such, the

majority of factors—and general standards of reasonableness—weigh in favor of denying

Plaintiffs’ motion.

I.     The Court Should Consider Threshold Legal Issues Before Ordering
       Expedited Discovery

       Plaintiffs’ Complaint is flawed for a number of reasons. These flaws mandate not

expedited discovery, but a threshold consideration of whether the Complaint should be

permitted to proceed at all. While not setting forth the full arguments that will be presented

in its Motion to Dismiss, as part of the consideration of the Motion for Expedited

Discovery, DFA believes it is important to highlight for the Court several of the substantive

legal weaknesses presented in Plaintiffs’ Complaint and Motion for Preliminary Injunction.




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                                The Failing Firm Doctrine

       The Plaintiffs’ Complaint, Motion for Preliminary Injunction, and related papers,

do not mention or address the well-known “Failing Firm Doctrine.” The Failing Firm

Doctrine operates as a complete defense to any antitrust challenge to DFA’s acquisition of

the majority of Dean because the doctrine “presupposes that the effect on competition and

the ‘loss to stockholders and injury to the communities where its plants were operated’ will

be less if a company continues to exist even as a party to a merger than if it disappears

entirely from the market.” United States v. Gen. Dynamics Corp., 415 U.S. 486, 507 (1974)

(holding failing firm doctrine applied where company acquired faced the grave possibility

of failure and there was no viable alternative purchaser for the company that would be less

anticompetitive) (quoting International Shoe Co. v. FTC, 280 U.S. 291, 302 (1930)). See

also Calif. v. Sutter Health Sys., 84 F. Supp. 2d 1057, aff’d, 217 F.3d 846 (9th Cir. 2000).

       When briefed in full, DFA will show that it satisfies the three-pronged test for

application of the Failing Firm Doctrine; specifically, that Dean was in imminent danger

of failure, there was no realistic prospect for Dean’s reorganization, and there was no less

anticompetitive purchaser to DFA. In fact, the Bankruptcy Court determined within the

bankruptcy proceedings that Dean faced the grave possibility of failure, that there was no

prospect of a reorganization of Dean, and that there was no viable alternative purchaser to

DFA to keep the majority of Dean Foods operating. See Granader v. Pub. Bank, 417 F.2d

75, 83 (6th Cir. 1969) (affirming district court’s determination that Failing Firm defense to

Section 7 claim was established where state court had already found in a receivership action



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that acquired entity was insolvent and acquirer was only prospective purchaser available).

Putting aside MDVA’s attempt to cherry-pick a single plant, DFA’s offer was the only one

that could have, and did, keep the vast majority of Dean, including its employees,

operational. Plaintiffs’ failure to mention the Failing Firm Doctrine cannot be mere

oversight.

                     The Challenges in Proving a Merger Violation

      Plaintiffs allege that DFA’s purchase of the Dean assets substantially lessens

competition in two markets:

                  the upstream market for the supply of raw milk by cooperatives
                   and farmers who can reasonably turn to milk processing plants
                   in the Carolinas with their supply, and

                  the downstream market for the processing and sale of fluid
                   milk to customers who can reasonably turn to milk processing
                   plants in the Carolinas for their purchases.

See Compl. [ECF 1] ¶¶ 10-11, 21-26. Plaintiffs further allege that “[b]y gaining control of

the majority of both markets, DFA now has the ability and the incentive to [1] cut off its

raw milk competitors’ supply to processing facilities, squeezing those competitors from

the raw milk market; [2] charge supracompetitive prices for raw milk to competing milk

processors; and [3] ultimately raise the prices of processed milk to retailers like Food

Lion.” Mem. [ECF 21] at 3 (internal citations omitted).

      As an initial matter, DFA’s acquisition does not and cannot raise “horizontal”

merger concerns—concerns involving the merger of competitors—as there was no overlap

between DFA and Dean in either of the Complaint’s alleged relevant markets. DFA was


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not a competitor in the fluid milk market in the Carolinas, in which Dean operated. Dean

was not a competitor in the raw milk market in which DFA and MDVA compete. Without

any overlap, there would be no elimination of competition in the alleged relevant markets.

Indeed, there is no change in the markets, DFA remains the existing raw milk supplier and

the Dean plants continue to operate.

       With respect to “vertical” merger concerns—those relating to the merger of

companies at different levels in a distribution chain—the Complaint’s vertical

“foreclosure” theories are unsupported by both law and fact. As a matter of law, vertical

integration is typically viewed as procompetitive because “vertical mergers create vertical

integration efficiencies between purchasers and sellers.” United States v. AT&T, Inc., 310

F. Supp. 3d 161, 193 (D.D.C. 2018), aff’d, 916 F.3d 1029 (D.C. Cir. 2019). See also Makan

Delrahim, Asst. Attn’y Gen., Dep’t of Justice, Antitrust Div., Remarks at The Deal’s Third

Annual Corporate Governance Conference:           Merger Enforcement Decisions Under

Uncertainty and Imperfect Information (June 7, 2018) (“[The Antitrust Division] ha[s] long

recognized that vertical integration can and does generate valuable efficiencies that benefit

consumers. Indeed, most vertical mergers are pro-competitive or competitively neutral.”).1

       Because of this beneficial outcome, the antitrust agencies very infrequently litigate

vertical merger cases, and when they do, the agencies typically lose. The only vertical

merger case to be litigated to an outcome by the United States antitrust agencies in the past


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    See https://www.justice.gov/opa/speech/assistant-attorney-general-makan-delrahim-
delivers-remarks-deal-s-third-annual-corporate (last visited June 3, 2020).


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40 years was AT&T/Time Warner in 2018—which the government lost—and before that it

was the 1979 Fruehauf/Kelsey-Hayes merger—which the government also lost. See

Fruehauf Corp. v. F.T.C., 603 F.2d 345, 348 (2d Cir. 1979). The “vertical integration

efficiencies between purchasers and sellers” that existed in AT&T/Time Warner and led the

court to find in favor of the merging parties also exist here, as the proposed DFA transaction

would combine entities that operate at wholly distinct levels of the supply chain.2

                      The Flaws in the Vertical Foreclosure Theory

       The alleged facts also do not support Plaintiffs’ vertical “foreclosure” theory. First,

the proposed acquisition of the Carolina Plants cannot result in any significant

“foreclosure” of MDVA, let alone anticompetitive foreclosure, since the Dean plants in

North Carolina already source almost all of their milk from DFA, and the South Carolina

plant buys the majority of its raw milk from DFA. See Wilson Decl. ¶ 19. Second, the

Complaint suggests that post-acquisition DFA would not sell raw milk to non-Dean milk

processing facilities in the region. This would be against DFA’s self-interest. Even if DFA

were to do this, the Complaint does not explain why MDVA and other non-DFA milk

suppliers cannot fill any alleged deficiency. And third, though the Department of Justice

(“DOJ”) specifically analyzed potential horizontal and vertical antitrust issues in the

Carolinas, the resolution of DOJ’s investigation did not require any relief in the Carolinas


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  Private parties have been no more successful, in the very few private cases that have been
brought. See, e.g., HTI Health Services, Inc. v. Quorum Health Group, Inc., 960 F. Supp.
1104 (S.D. Miss. 1997); O’Neill v. Coca-Cola Co., 669 F. Supp. 217 (N.D. Ill. 1987); cf.
Steven C. Salop, Invigorating Vertical Merger Enforcement, 127 Yale L.J. 1962, 1964
(2018) (“There has been very little private litigation.”).

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(in contrast to Illinois, Wisconsin, and Massachusetts).

II.    There is No Risk of Imminent Harm Without Access to Expedited Discovery.

       Plaintiffs state that they “intend to seek [as a remedy] divestiture of at least one of

the Carolinas plants at trial….” Mem. [ECF 21] at 3 (emphasis added). In the interim,

however, they seek “a preliminary injunction in the form of an asset preservation order to

maintain” a no longer existent, so-called “status quo” for all three plants. Id. at 4. It

appears Plaintiffs’ main thrust is that a preliminary injunction should be entered merely

because it will be difficult to “unscramble the eggs.” Mem. [ECF 17] at 14. While this is

factually irrelevant since the transaction has been completed, if this were all that were

required for a preliminary injunction, one would expect such injunctions to be common

and handed out in any case in which a merger is challenged. However, this position ignores

the standard for a preliminary injunction and the case law that holds that preliminary

injunctions are extraordinary measures. Plaintiffs have not cited and DFA has not found

any case in the Fourth Circuit, or in any other court, that abides by this standard.

       “In order to succeed in gathering expedited discovery, the Plaintiff must also

demonstrate that they would likely suffer irreparable harm in its absence.” ForceX, Inc.,

2011 WL 2560110 at *7, 2011 U.S. Dist. LEXIS 69454, at *20 (E.D. Va. June 27, 2011).

For example, expedited discovery may be justified where “the discovery sought will be

unavailable in the future or is subject to pending destruction if it is not taken now.”

Dimension Data N. Am., Inc. v. NetStar-1, Inc., 226 F.R.D. 528, 532 (E.D.N.C. 2005)

(denying expedited discovery where, inter alia, plaintiff neglected to allege that discovery



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would be unavailable if not performed in an expedited manner). Plaintiffs here make no

such allegations.

        Indeed, Plaintiffs have not made any showing that they will be irreparably harmed

by delaying the broad-based discovery requested. Rather, Plaintiffs repeat the irreparable

harm standard without identifying what information is necessary and why it is needed now.

Plaintiffs mention only one category of information as necessary to their preliminary

injunction motion—“market and economic data”—and yet seek expedited discovery on 16

discovery requests (several of which include multiple subparts). Mem. [ECF 21] at 11.

Plaintiffs do not explain how they will be prevented from, for example, litigating their

preliminary injunction in the absence of DFA’s farmer member’s email addresses, all

documents and communications concerning or relating to the 19-year-old Promissory Note

between DFA and Dean, or communications with the Wisconsin Attorney General.

Plaintiffs have left it to the Court and DFA to sort out what evidence is actually necessary

to its preliminary injunction motion. Hughes v. B/E Aerospace, Inc., 2014 WL 906220, at

*1, 2014 U.S. Dist. LEXIS 29535, at *1 (M.D.N.C. Mar. 7, 2014) (“A party should not

expect a court to do the work that it elected not to do.”). As Plaintiffs themselves cannot

articulate irreparable harm, they have not met their burden, and this factor weighs against

them.

        Nor are Plaintiffs correct that “the balance of equities weighs heavily in favor of

granting Plaintiffs’ request” because “[a] significant amount of the requested discovery is

simply piggybacking on prior document productions made by DFA that can be reproduced



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to Plaintiffs expeditiously at little cost and the remaining requests seek documents that are

easily identifiable, readily capable of being produced, and highly relevant to the Court’s

assessment of preliminary relief.” Plaintiffs’ broad-based requests cannot simply be

“reproduced” as the requests extend, in many instances, well beyond what the Department

of Justice sought. Moreover, Plaintiffs are not entitled to what they seek. Discovery related

to matters and plants located elsewhere is well outside the limits of what is permissible and

underscore that the balance of equities does not favor Plaintiffs.

        Most importantly, Plaintiffs ignore the fundamental equities that favor DFA: as

discussed above, Plaintiffs’ Complaint and Preliminary Injunction motions are deficient on

their face, and DFA should not be put to the burden and expense of responding to Plaintiffs’

broad discovery until this Court has had the opportunity to examine the merits of Plaintiffs’

case.

III.    Plaintiffs Have Failed to Narrowly Tailor Their Discovery Requests.

        “When a party is seeking expedited discovery in connection with a request for a

preliminary injunction, the discovery requests should be ‘narrowly tailored to focus on

information believed to be probative to the preliminary injunction analysis.’” Dimension

Data N. Am., Inc., 226 F.R.D. at 531. Although Plaintiffs claim that their requests are

“straightforward,” Mem. [ECF 21] at 6, “the discovery requested is not narrowly tailored

to obtain information relevant to a preliminary injunction determination.” Dimension Data

N. Am., Inc., 226 F.R.D. at 532. The reality is that Plaintiffs’ requests are overbroad and

sweep well “beyond the narrow issues the Court may need to resolve at th[e preliminary



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injunction] juncture.” Teamworks Innovations, 2020 WL 406360, at *4, 2020 U.S. Dist.

LEXIS 11892 at *11 (internal quotations removed). At a high level, the requests seek

information about states and markets arguably irrelevant to the case in its entirety, and

certainly would have no bearing on the more limited matter of the preliminary injunction.3

                 A. Request Nos. 1-5

           According to Plaintiffs, Request Nos. 1-5 “merely” seek “information directly

related to the Asset Sale.” Mem. [ECF 21] at 7. The reality of the requests is much

different. In the interest of clarity, DFA provides the following examples of Plaintiffs’

failure to narrowly tailor4:

     No.         Food Lion / MDVA Request                         DFA’s Response
    1.      All documents produced by DFA or          Plaintiffs allege a market limited to
            Dean to the U.S. Department of Justice    North and South Carolina, however the
            and/or state Attorneys General in         Asset Sale was for a total of 44 plants,
            connection with their investigation(s)    in 23 states. Information was
            and review(s) of the Asset Sale.          produced to the DOJ and five states
                                                      attorneys general, and communications
                                                      with other states attorneys’ general.

    2.      All communications between DFA            (same response as 1)
            and/or Dean on the one hand and the
            U.S. Department of Justice and/or state
            Attorneys General on the other in
            connection with the Asset Sale.


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  Furthermore, if Plaintiffs’ concern was being adequately prepared for the preliminary
injunction, accepting a massive document dump of wholly irrelevant material would be a
waste of time and effort.
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 This is not intended to be a full substitute for objections and responses, rather a high-level
identification of over broad and burdensome requests that are not narrowly tailored to the
purposes at hand.

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 3.      All communications between DFA on             Plaintiffs allege a market limited to
         the one hand and Dean or any third            North and South Carolina, however the
         party on the other, including without         Asset Sale was for a total of 44 plants,
         limitation bankers, lenders, advisors,        in 23 states.
         shareholders, investors, unions,
         employees, partners, suppliers, or
         customers, regarding potential antitrust
         or competition issues associated with
         the Asset Sale.
 4.      All documents produced by DFA or              Some of this material will require
         Dean, as well as any deposition               approval of third parties, to the extent
         transcripts, and any sealed and/or            it involves sealed/redacted materials.
         redacted filings, in connection with the      Most of the issues before the
         bankruptcy proceedings in In re:              Bankruptcy Court, such as the nature
         Southern Foods Groups, LLC, et al.,           of secured debt and union contracts,
         No. 19-36313 (Bankr. S.D. Tex.).              are unrelated to any issue likely to be
                                                       germane to this litigation.
 5.      All documents and communications              DFA made a single bid for all of the 44
         concerning or relating to DFA’s bid           Dean plants it acquired.
         for, or its valuation of, any or all of the
         Carolinas plants.


               B. Request Nos. 6 and 7

        As with Requests No. 1 through 5, Plaintiffs failed to tailor their discovery requests

6 and 7 in scope and effort.

 No.     Food Lion / MDVA Request                   DFA’s Response
 6.      All documents and communications           Massive amounts of highly sensitive
         concerning or relating to DFA’s            business information would have to be
         actual or contemplated plans for the       collected, processed through a third-party
         Carolinas plants following the Asset       vendor, then reviewed for responsiveness,
         Sale, including without limitation         as well as confidentiality and privilege
         all strategic, competitive, business,      concerns. This is a time-consuming
         operational, integration, sourcing,        process, not the mere copying of a single,
         pricing, staffing, or financial plans.     centralized file, and is inconsistent with
                                                    Plaintiffs’ demand for expediency.


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                                                  Moreover, it remains to be seen how
                                                  merely “contemplated”—as opposed to
                                                  “actual” —plans would be helpful for
                                                  Plaintiffs’ motion for a preliminary
                                                  injunction. Plaintiffs provide no
                                                  explanation.
 7.     All analyses, studies, surveys, and       (same as 6)
        reports conducted by or for DFA or
        Dean after January 1, 2019,
        concerning or relating to the
        Carolinas plants.


              C. Request Nos. 8-12

       Request Nos. 8-12 are also inconsistent with Plaintiffs’ motion for expedited

discovery. Plaintiffs provide no justification for these requests beyond the vague assertion

that “Request Nos. 8-12 are aimed at certain discovery necessary to Plaintiffs’ likelihood

of success on its antitrust claims.” Mem. [ECF 21] at 8. However, as set forth above,

Plaintiffs’ claims under Section 7 of the Clayton Act are unlikely to succeed for a multitude

of reasons unrelated to the discovery sought.

       DFA does not disagree with Plaintiffs that, should this matter proceed to trial,

Plaintiffs’ “claims will require in-depth analysis of competition in the markets at issue

before and after the Asset Sale.” Mem. [ECF 21] at 9.




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    No.     Food Lion / MDVA Request                  DFA’s Response
    8.      All documents and communications          Discovery regarding this agreement is
            concerning or relating to the Side        irrelevant to DFA’s acquisition of
            [Promissory] Note.                        Dean assets and is not narrowly
                                                      tailored to the preliminary injunction
                                                      motion. Rather Plaintiffs seek to
                                                      challenge alleged conduct from well
                                                      outside the statute of limitations
                                                      period.
    9.      All documents and communications          There is no geographic limitation for
            concerning or relating to comparisons of this request. DFA is in the business of
            pricing, costs, transportation, or other  marketing its farmer-members’ raw
            aspects of raw milk sourcing from DFA milk, so most of its communications
            and Plaintiff Maryland and Virginia       relate to its pricing, costs,
            Milk Cooperative Association, Inc.        transportation, or the vaguely worded
                                                      “other aspects” of raw milk.5
    10.     All contractual or other agreements       This seeks voluminous data from both
            concerning or relating to (1) the         DFA and the newly acquired Dean
            sourcing or supply of raw milk to a milk Carolinas Plants for all sales.
            processing plant in North or South
            Carolina, or (2) the sale of processed
            fluid milk from the Carolina plants, that
            were effective in the year prior to the
            Asset Sale or that will be effective
            following the Asset Sale.
    11.     All contractual or other agreements       It is unclear how this is relevant to the
            between DFA and Kroger concerning or preliminary injunction. Kroger is a
            relating to the supply of raw milk to     competitor of Plaintiff Food Lion;
            Kroger-owned processing plants            MDVA is a supplier to Kroger in
            nationwide or in North or South           North Carolina. MDVA is a
            Carolina.                                 competitor of DFA.
    12.     All documents and communications          As with earlier requests, this seeks
            concerning or relating to customer,       materials for the entire Asset Sale,
            supplier, or member complaints or         across all geographic regions.
            inquiries regarding the Asset Sale.


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      As a competing dairy cooperative, Plaintiff MDVA is well aware of the volume and
burden of this Request.

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              D. Request Nos. 13-16

       Requests Nos. 13 and 14 seek, broadly, all bids for the supply of raw and processed

milk since January 1, 2017. Request Nos. 15 and 16 contain fifteen and thirteen sub-parts,

respectively, for “structured data,” including:


       a. The terms of each sale;

       b. The invoice number;

       c. The purchase order number;

       d. All locations from which the raw milk originated (i.e., not a pooling
       facility);

       e. The supplier’s name, phone number(s), address(es), email address(es);

       f. The identity of the entity that was billed;

       g. The location to which the raw milk was shipped;

       h. The date and time the raw milk was shipped and the date and time the
       customer took delivery;

       i. The class and/or grade of the raw milk;

       j. The quantity (and units of measure) for each sale;

       k. All pricing information concerning the sale, including shipping, tax, or
       similar charges, and the gross and net unit price for each item in the sale;

       l. Any discounts, rebates, credits, freight allowances, returns, free goods
       and/or services, and any other pricing adjustments for each sale, with
       sufficient information to attribute these adjustments to individual sales;

       m. Any fixed or variable cost or costs of goods sold concerning the sale
       (including freight charge and transportation cost, sales and distribution cost,
       raw materials, intermediaries, marketing or sales cost, and any other cost
       attributed or allocated to the sale;

       n. Any Structured Data fields in which the user can freely enter text, such as


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       “comments” or similar fields; and

       o. Any Structured Data fields summarizing terms of the sale or agreements
       or contracts relating to the sale.

Standing alone, these requests are not permitted under the Federal Rules. Collectively,

these 30-plus requests demand all of DFA’s and legacy Dean’s raw and fluid milk data for

North and South Carolina “in the most disaggregated form (meaning at the transactional

level, not aggregated by month or quarter) in which it is kept.” See also Dimension Data

N. Am., Inc., 226 F.R.D. at 532 (finding unreasonable a request for all of defendant’s

“accounts receivables…involving entities in North Carolina”). To say nothing of the

business and antitrust concerns associated with giving DFA’s competitor its most sensitive

sales information in its most disaggregated form, Plaintiffs offer no explanation as to why

they need or what they intend to do with detailed contact information, including email

addresses, for each of DFA’s members and customers.

       Because Plaintiffs’ proposed discovery is overbroad, and not narrowly tailored to

its purpose, this factor weighs against granting the instant motion. See Dimension Data N.

Am., Inc., 226 F.R.D. at 531.

                                         Conclusion

       Plaintiffs seek to leapfrog the normal and rational litigation process in order to

commence discovery in a highly complex antitrust case where the complaint appears

invalid on its face. Plaintiffs fail to establish that there would be irreparable harm if their

motion to expedite discovery is denied. And as detailed above, they fail to propound

discovery that is reasonably and narrowly tailored to its purported goal of furthering

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briefing on the motion for a preliminary injunction. A more sensible approach in this

situation is to permit the Court to consider the forthcoming motion to dismiss, which should

be fully briefed by the middle of next month, before having DFA commence the expensive

and time-consuming process of responding to discovery to allow Plaintiffs to refile their

motion for a preliminary injunction. DFA therefore respectfully requests that Plaintiffs’

instant motion be denied.



       Respectfully submitted this the 3rd day of June, 2020.



                                           /s/ James P. Cooney III
                                           James P. Cooney III
                                           N.C. State Bar No. 12140
                                           Sarah Motley Stone
                                           N.C. State Bar No. 34117
                                           WOMBLE BOND DICKINSON (US) LLP
                                           Charlotte, North Carolina 28202
                                           Phone: 704-331-4900
                                           Fax: 704-331-4955
                                           Jim.Cooney@wbd-us.com
                                           Sarah.Stone@wbd-us.com

                                           Brent F. Powell
                                           N.C. State Bar No. 41938
                                           WOMBLE BOND DICKINSON (US) LLP
                                           One West Fourth Street
                                           Winston-Salem, North Carolina 27101
                                           Phone: 336-721-3600
                                           Fax: 336-721-3660
                                           Brent.Powell@wbd-us.com

                                           Rebecca C. Fleishman
                                           N.C. State Bar No. 41233
                                           WOMBLE BOND DICKINSON (US) LLP

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                               555 Fayetteville Street
                               Suite 1100
                               Raleigh, North Carolina 27601
                               Phone: 919-755-2100
                               Fax: 919-755-2100
                               Rebecca.Fleishman@wbd-us.com

                               W. Todd Miller*
                               Amber McDonald*
                               BAKER & MILLER
                               2401 Pennsylvania Avenue N.W.
                               Suite 300
                               Washington, D.C. 20037
                               Phone: 202-663-7820
                               Fax: 202-663-7849
                               AMcDonald@bakerandmiller.com
                               TMiller@bakerandmiller.com

                               Attorneys for Dairy Farmers of America, LLC



                               *Special Appearance Pending




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                               WORD COUNT CERTIFICATION

       This is to certify that the foregoing document complies with the word count limit

set forth in L.R. 7.3(d)(1).



                                                      /s/ James P. Cooney III
                                                      James P. Cooney III
                                                      N.C. State Bar No.




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